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                                                                                                                               2/3/2021

1                                  UNITED STATES DISTRICT COURT
2                                 CENTRAL DISTRICT OF CALIFORNIA
3 UNITED STATES OF AMERICA and                                                            ) Case No. CV-91-0589
4 STATE OF CALIFORNIA                                                                     ) (CJC)
  DEPARTMENT OF HEALTH                                                                     )
5
  SERVICES HAZARDOUS                                                                      )
6 SUBSTANCES CLEANUP FUND,                                                                )
7
                                                                                           )
                                                                                          )
8                                                                                         )
9         v.                                                                              )
                                                                                          )
10   SHELL OIL COMPANY, UNION OIL                                                          )
11   COMPANY OF CALIFORNIA, ATLANTIC                                                       )
     RICHFIELD COMPANY, TEXACO, INC., LO )
12
     COYOTES ESTATES, LTD., RAMPARTS                                                       )
13   RESEARCH CORPORATION, and MCAULE )
14
     LCX CORP.,                                                                            )
                                                                                          )
15                       Defendants.                                                       )
16   .....................................................................................................................................
17                                             [PROPOSED] JUDGMENT
18
               For reasons stated in the Order Granting the United States’ Motion for
19
20   Summary Judgment (Dkt. 674), dated December 10, 2020, (Dkt. 704) it is hereby
21
     ORDERED, ADJUDGED, AND DECREED that:
22
23             1.        Judgment is entered against defendants Shell Oil Company, Union Oil
24
     Company of California, Atlantic Richfield Company, and Texaco, Inc., to pay the
25
     plaintiff, the United States of America, in the amount of $49,861,337.62, plus
26
27   CERCLA interest under 42 U.S.C. § 9607 from September 30, 2019 until this
28
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1    document is signed, and post-judgment interest under 28 U.S.C. § 1961; see
2
     attached Memorandum pursuant to L.R. 58.7;
3
4          2.     Payment shall be made by wire transfer directed to the Federal
5
     Reserve Bank of New York: ABA: 021030004, Account Number: 68010727,
6
7
     SWIFT address: FRNYUS33, 33 Liberty Street, New York, N.Y. Field Tag 4200

8    of the Fedwire message should read as follows “D 68010727 Environmental
9
     Protection Agency.” The wire transfer shall reference McColl SSID 9-04; United
10
11   States of America, et al. v. Shell Oil Company, et al., CV-91-0589 (CJC); DOJ No.
12
     90-11-2-3A; and U.S.A.O file number 91-00-586 (McColl Superfund Site,
13
14
     Fullerton, California); and

15         3.     Pursuant to Fed. R. Civ. P. 54(b), as this action involves multiple
16
     parties, the Court determines that there is no just reason for delay of the entry of
17
18   this judgment.
19
20   DATED: February 3, 2021
21
22                                           ___________________________________
                                              _____________________________________
23                                                 HON. CORMAC
                                                        CORMMAC J. CARNEY   Y
24                                             UNITED STATES DISTRICT JUDGE
25
26
27
28
